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 7

 8

 9                                 UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11                                      SAN FRANCISCO DIVISION

12

13   IN RE TESLA, INC. SECURITIES                           Case No. 3:18-cv-04865-EMC
     LITIGATION
14                                                          STIPULATION AND [PROPOSED] ORDER
                                                            REGARDING THE SUBMISSION OF THE
15                                                          PARTIES’ JOINT PRETRIAL CONFERENCE
                                                            STATEMENT AND PRETRIAL MATERIALS
16

17

18          Pursuant to Civil Local Rule 6-2, Lead Plaintiff Glen Littleton (“Lead Plaintiff”) and

19   Defendants Tesla, Inc., Elon R. Musk, Brad W. Buss, Robyn Denholm, Ira Ehrenpreis, Antonio J.

20   Gracias, James Murdoch, Kimbal Musk, and Linda Johnson Rice (collectively, “Defendants”)

21   (collectively, Lead Plaintiff and Defendants are referred to as the “Parties”), by and through their

22   undersigned counsel of record, submit the following stipulation and proposed order:

23          WHEREAS, on May 31, 2020, the Court entered a Case Management and Pretrial Order

24   for Jury Trial (“Pretrial Order”) setting the litigation deadlines for this case (Dkt. No. 261);

25          WHEREAS, the Pretrial Order set April 12, 2022 (21 days prior to the final pretrial

26   conference) as the deadline to file a joint pretrial conference statement and pretrial materials. Dkt.

27   No. 261);

28

                                                                          STIPULATION AND [PROPOSED] ORDER
                                                                                 CASE NO. 18-CV-04865-EMC
         Case 3:18-cv-04865-EMC Document 391 Filed 04/12/22 Page 2 of 3



 1
             WHEREAS, Plaintiff moved for partial summary judgment on January 11, 2022 (Dkt. No.
 2
     352);
 3
             WHEREAS, the Court issued a Sealed Order on April 1, 2022 (Dkt. 387), which the parties
 4
     did not receive until April 10, 2022 at 6:43 p.m. (the “Sealed Order”);
 5
             WHEREAS, the Parties have been working cooperatively on the joint pretrial conference
 6
     statement and pretrial materials;
 7
             WHEREAS, due to the Sealed Order, the Parties need additional time to revise the joint
 8
     pretrial conference statement and pretrial materials to reflect the Court’s Sealed Order and its effect
 9
     on trial;
10
             WHEREAS, the Parties jointly propose to postpone the deadline to file the joint pretrial
11
     conference statement and pretrial materials until April 25, 2022;
12
             WHEREAS, the Sealed Order also addressed Defendants’ motions to seal confidential
13
     information filed in conjunction with the pleadings on the motion for partial summary judgment
14
     (see, e.g., Dkt Nos. 361, 364, 367, 374), ordering the Parties to meet and confer thereon within two
15
     weeks from the date of the Sealed Order;
16
             WHEREAS, because the Parties did not receive the Sealed Order until April 10, 2022, the
17
     Parties will calculate the two week period to meet and confer starting from the date the Sealed
18
     Order was served.
19
             NOW, THEREFORE, the Parties hereby jointly request that the Court enter an order
20
     establishing the following deadlines in this case, or alternatively to schedule a hearing in order to
21
     discuss the submission of joint pretrial conference statement and pretrial materials:
22                                                                        PROPOSED MODIFIED
                  EVENT                   CURRENT SCHEDULE
                                                                                 SCHEDULE
23
      Joint pretrial conference        April 12, 2022 (21 days prior April 25, 20221
24    statement, and pretrial          to the pretrial conference)
      materials
25    Final Pretrial Conference        May 3, 2022                      May 3, 2022
           2
      Trial                            May 31, 2022                     May 31, 2022
26
     1
27      Defendants will also file any additional papers regarding its request to seal confidential
     information on or before this date.
     2
28      Defendants reserve the right to seek certification of the Sealed Order (Dkt. 387), or to
     otherwise seek alteration of the trial date.
                                                       2                   STIPULATION AND [PROPOSED] ORDER
                                                                                  CASE NO. 18-CV-04865-EMC
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 1

 2   DATED: April 12, 2022                LEVI & KORSINSKY, LLP
 3
                                          By: /s/ Adam M. Apton
 4                                           Adam M. Apton
                                             Attorneys for Lead Plaintiff Glen Littleton and Lead
 5                                           Counsel for the Class
 6

 7   DATED: April 12, 2022                QUINN EMANUEL URQUHART & SULLIVAN, LLP

 8                                        By: /s/ Alex Spiro
 9                                           Alex Spiro (appearing pro hac vice)
                                             Attorneys for Tesla, Inc., Elon Musk, Brad W. Buss,
10                                           Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias,
                                             James Murdoch, Kimbal Musk, And Linda Johnson Rice
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14
            IT IS SO ORDERED.
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16

17   Dated: __________________
                                                           HON. EDWARD M. CHEN
18                                                         United States District Judge
19
20

21

22                                          ATTESTATION
23          I, Adam M. Apton, am the ECF user whose ID and password are being used to file the above
24   document. In compliance with Local Rule 5-1(h)(3), I hereby attest that the above named attorneys
25   of record have concurred in the filing of the above document.
26                                                              /s/ Adam M. Apton
                                                                Adam M. Apton
27
28

                                                     3                 STIPULATION AND [PROPOSED] ORDER
                                                                              CASE NO. 18-CV-04865-EMC
